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             UNITED STATES DISTRICT COURT FOR THE
                EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

In RE: FORD MOTOR CO. F-150             Case No.: 2:19-md-02901
AND RANGER TRUCK FUEL
ECONOMY MARKETING AND
SALES PRACTICES LITIGATION              Hon. Sean F. Cox

This Document Relates To: All Actions


        DEFENDANT FORD MOTOR COMPANY’S REPLY
    IN SUPPORT OF ITS MOTION TO DISMISS THE AMENDED
CONSOLIDATED MASTER CLASS ACTION COMPLAINT PURSUANT
 TO FEDERAL RULES OF CIVIL PROCEDURE 12(B)(6) AND 12(B)(1)
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   I.      INTRODUCTION
        Plaintiffs admit that all 311 counts of the sprawling ACAC are premised on

Ford’s failure to calculate the “true fuel economy” for the subject vehicles and its

provision of “inaccurate” fuel economy estimates. See, e.g., ECF No. 78,

PageID.2064 at ¶ 31 (“Had Ford disclosed the true fuel economy . . . Plaintiff[s]

would not have purchased the vehicle or would have paid less for it.”); ECF No. 78,

PageID.2066 at ¶ 41 (“inaccurate fuel economy representations”); accord ECF 85,

PageID.3304 (“Ford concealed the true [fuel economy] figures and advertised false

ones”). This logically flawed premise, standing alone, warrants dismissal of the

ACAC with prejudice as preempted by federal law. See generally ECF No. 82,

PageID.3209-3215. Plaintiffs do not seriously dispute this. Instead, they use their

opposition brief to distort precedent concerning this exact issue and confuse (if not

mischaracterize) their own allegations. That will not do. A straightforward

application of critical authority and federal law compels dismissal.

        Plaintiffs also concede that they lack standing to proceed against Ford under

the laws of 22 states where no named Plaintiff is alleged to reside or have been

injured. And Plaintiffs only half-heartedly oppose Ford’s case-dispositive arguments

that dismissal is warranted because their claims are premised on a violation of the

EPCA and they fail to sufficiently allege a cognizable injury-in-fact. Nor do

Plaintiffs muster a legitimate response to Ford’s invocation of the EPA’s primary


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jurisdiction that precludes this Court from substituting its judgment for the special

expertise of the EPA. The same is true for Plaintiffs’ opposition to Ford’s claim-

specific defenses, where Plaintiffs do not even confront many of Ford’s arguments.

For example, Plaintiffs do not dispute that Ford’s compliance with FTC marketing

guidelines or pre-suit approval requirements foreclose most of their consumer

protection claims. This lack of rigor permeates Plaintiffs’ opposition brief.

           Plaintiffs have now taken three bites at the apple. They have filed individual

complaints, a master consolidated complaint, and, after reviewing Ford’s motion to

dismiss (ECF 73), an amended consolidated complaint. Allowing a fourth bite would

be fruitless after Plaintiffs have been unwilling to even once meaningfully alter their

allegations. The ACAC should therefore be dismissed in its entirety with prejudice.

     II.      ARGUMENT
              A. Plaintiffs’ claims are preempted by federal law.
                     i. Plaintiffs misrepresent precedent supporting dismissal.
           This Court should be guided by Judge Karas’ preemption analysis in In re

Ford Fusion & C-Max Fuel Economy Litigation (“C-Max”).1 There, the court was

confronted with the exact question Plaintiffs present here: whether federal law,

particularly 49 U.S.C. § 32919(b), preempts state law claims premised on a

manufacturer’s use of EPA estimates in advertisements or on Monroney labels as



1
 See No. 13-2450, 2017 WL 3142078 (S.D.N.Y. Jul. 24, 2017) (“C-Max II”); No.
13-2450, 2015 WL 7018369 (S.D.N.Y. Nov. 12, 2015) (“C-Max I”).
                                    2
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opposed to some other “actual” fuel economy calculation. C-Max I, 2015 WL

7018369 at *27; C-Max II, 2017 WL 3142078 at *9. The court explained that federal

law does not require a manufacturer to “independently test and disclose the fuel

economy of [a vehicle] to determine its ‘actual’ performance”—a figure that, if it

exists at all, varies widely from driver to driver. See 71 Fed. Reg. at 77874 (“It is

important to emphasize that fuel economy varies from driver to driver for a wide

variety of reasons.”). For this reason, the court concluded that preempting plaintiffs’

state law claims under 49 U.S.C. § 32919(b) was appropriate. In so doing, the court

recognized that requiring a vehicle manufacturer to determine and distribute “actual”

fuel economy figures would impermissibly “impose a regime above and beyond that

required by [the EPA and FTC] regulations.” C-Max I, 2015 WL 7018369 at *27;

see also Section II(B)(iii). Therefore, Plaintiffs could not state a claim based on the

accuracy of Monroney label or mere use of EPA-mandated estimates in advertising.

See C-Max I, 2015 WL 7018369 at *27; C-Max II, 2017 WL 3142078 at *9.

      C-Max remains on all fours and supports dismissal of Plaintiffs’ ACAC in its

entirety with prejudice. As in C-Max, Plaintiffs here seek to hold Ford liable for not

producing “actual”—or, in this case, “true”—fuel economy figures. See, e.g., ECF

No. 78, PageID.2064, 2066 at ¶¶ 31, 41; ECF No. 85, PageID.3304, 3336-3337

(“Ford had a duty under state law to disclose the true fuel economy” of class

vehicles). While Plaintiffs may blind themselves to the fact that no such figure exists,

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this Court should reject Plaintiffs’ contention that the C-Max court, or any court,

would greenlight any and all false advertising claims premised on EPA fuel economy

estimates. Rather, the C-Max court unambiguously held that false advertising claims

premised on the mere use of EPA-estimates—as opposed to “guarantees of specific,

real-world performance”—are preempted. C-Max II, 2017 WL 3142078 at *9, 11.2

        Here, mere use of EPA estimates is all Plaintiffs allege. Every Ford-produced

advertisement cited by Plaintiffs contains the FTC-required disclaimer that actual

fuel economy performance “will vary” and none contains a representation of real-

world performance. See, e.g., ECF No. 78-14, PageID.3072; accord C-Max II, 2017

WL 3142078 at *11 (“[Ford’s] representations are based entirely on [] EPA-

estimated MPG, as is evident from . . . the footnote,” containing the FTC disclaimer).

        In a further attempt to distract from C-Max, Plaintiffs claim, without analysis

that Ford ignores “the raft of cases involving emissions cheating.” ECF No. 85,

PageID.3317. But that is for good reason. Unlike the emissions information at issue

in those cases, where direct disclosure to consumers is neither mandated nor

regulated, this case involves fuel economy representations that are both federally

mandated and regulated by the EPA and FTC. Even if the emissions cases cited by



2
  Applying a presumption against preemption, as Plaintiffs suggest, would not
change Ford’s reliance on the C-Max decision. ECF No. 85, PageID.3319-3320. The
C-Max court dismissed plaintiffs’ claims despite applying a now non-existent
“presumption against preemption.” See ECF No. 82; PageID.3210.
                                        4
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Plaintiffs were rightly decided—Ford maintains they are not—they are inapplicable

because this disclosure and regulatory context is different. Ford’s statements

regarding EPA fuel economy estimates are compelled, as is its universal disclosure

that actual fuel economy performance will vary. There is no equivalent requirement

for emissions, nor is there an FTC safe-harbor for emissions-related statements as

there is for fuel economy estimates. Moreover, there is no allegation here that Ford

installed a “defeat device” or similar component part in the subject vehicles with the

goal of deceiving regulators and consumers.3 This is a fuel economy case. And this

Court should follow the precedent set in similar, well-reasoned fuel economy cases,

like C-Max, to find Plaintiffs’ claims are preempted by federal law.

                ii. Plaintiffs’ claims are expressly preempted.
      Plaintiffs assert that their claims are not expressly preempted by 49 U.S.C. §

32919(b) for three unavailing reasons.

      First, Plaintiffs posit that express preemption cannot apply because “Ford fails

to address the congressional purpose behind the EPCA.” ECF No. 85, PageID.3317.


3
  And any suggestion that Ford somehow “cheated” in calculating fuel economy are
speculative, conclusory, and untethered from facts needed to satisfy the standard
demanded by Rule 9(b). See infra Section II(D). It does not follow that Ford
“cheated” simply because select employees “were questioning [Ford’s] computer
modeling and physical test practices.” ECF No. 78, PageID.2157 at ¶ 410. This is
particularly true here, where the Department of Justice investigation spawned as a
result of these employees’ questions has concluded without any charge or claim of
wrongdoing against Ford. Id. (citing ECF No. 78, PageID.2149, 2157-2158, 2166 at
¶¶ 397; 410-411, 430).
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That is false. Ford detailed the regulatory scheme imposed by the EPA and FTC

governing Ford’s fuel economy calculations and advertisements, and also stated the

congressional purpose supporting this scheme. See, e.g., ECF No. 82, PageID.3199-

3205, 3210; Section II(A)(iii). In any event, even if Ford had not addressed the

purpose of the regulatory scheme at issue, C-Max certainly did. See C-Max I, 2015

WL 7018369 at **26-28. Thus, Plaintiffs’ first basis to avoid dismissal is meritless.

      Second, while conceding that § 32919(b) preempts state laws that do not

mirror the federal fuel economy regime, ECF No. 85, PageID.3323, Plaintiffs posit

that their claims are not expressly preempted because they “do not seek to impose

any requirements on Ford other than as provided under the federal statute and

regulations,” ECF No. 85, PageID.3324. This too is false. Plaintiffs seek to hold Ford

liable for failing to produce and distribute “true” fuel economy figures. See, e.g.,

ECF No. 85, PageID.3335-3336 (“Ford had a duty under state law to disclose the

true fuel economy.” (emphasis added)). The production of such figures is not

required by the EPCA or any other federal law. C-Max I, 2015 WL 7018369 at *27

(explaining that requiring “actual” fuel economy figures would “impose a regime

above and beyond that required by [federal law].”). Federal regulators have

explained why: “it is impossible to design a ‘perfect fuel economy test that will

provide accurate, real-world fuel economy estimates for every consumer.” 71 Fed.

Reg. at 77874. The EPCA thus requires only that Ford publish fuel economy

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estimates in the manner dictated by the FTC. Because Plaintiffs go far beyond the

fuel economy requirements imposed by the EPCA by premising their claims on

Ford’s failure to calculate and distribute “true” fuel economy figures for the subject

vehicles, dismissal is required. See C-Max I, 2015 WL 7018369 at *27.

      Finally, Plaintiffs assert that Ford’s “mileage-related marketing campaign[s]”

cannot be preempted by § 32919(b). ECF No. 85, PageID.332-3328. Courts

disagree. While C-Max, Sanchez, Paduano, and Yung Kim allowed claims premised

on advertisements that “could lead a reasonable consumer to believe that a vehicle .

. . [was] capable of achieving . . . EPA estimates under real-world conditions” to

survive a motion to dismiss, those same courts found that claims premised on the

advertisement of an “EPA estimate itself” were preempted. C-Max II, 2017 WL

3142078 at *9 (citing Yung Kim v. Gen. Motors, LLC, 99 F. Supp. 3d 1096, 1104

(C.D. Cal. 2015)).4 Plaintiffs’ claims fit squarely in the latter category.

      In sum, Plaintiffs do not cite a single Ford-produced advertisement that could

possibly be construed as representing the real-world fuel economy performance of

the subject vehicles. To the contrary, in each cited advertisement includes the FTC-

mandated disclaimer “actual mileage will vary,” see, e.g., ECF No. 78-14,



4
  Sanchez v. Ford Motor Co., No. 13-1924, 2014 WL 2218278, at *3-5 (D. Colo.
May 29, 2014); Paduano v. Am. Honda Motor Co., Inc., 169 Cal. App. 4th 1453,
1477 (2009) (differentiating between claims premised on “disclosing EPA mileage
estimates” and “assertions[] beyond the disclosure of the mileage estimates.”).
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PageID.3072. Therefore, Ford has not falsely represented that real-world fuel

economy performance will match EPA estimates but has instead merely disclosed

the EPA fuel economy estimates, as required by law. See C-Max I, 2015 WL 7018369

at *26-27; see also C-Max II, 2017 WL 3142078 at *11. The cited advertisements

are nonactionable as a matter of law, and they foreclose all of Plaintiffs’ claims.

               iii. Plaintiffs’ claims are impliedly preempted.
      The ACAC should also be dismissed as impliedly preempted. Plaintiffs do not

dispute that conflict preemption bars state law claims “where the state law stands as

an obstacle to the accomplishment of the full purposes and objectives of Congress.”

Silkwood v. Kerr-McGee Corp., 464 U.S. 238, 248 (1984); see also ECF No. 85,

PageID.3336. Plaintiffs instead complain that Ford has not adequately “explain[ed]

how revealing [true fuel economy] to consumers could mislead consumers” in order

to stand as an obstacle to the EPCA’s congressional purpose. ECF No. 85,

PageID.3337. But Ford need not offer such an explanation; the EPA already has.

      The EPA has emphasized that the purpose of its fuel economy estimates is to

“provide car buyers with useful information when comparing the fuel economy of

different vehicles.” 71 Fed. Reg. 77872, 77874 (Dec. 27, 2006). To accomplish this,

the EPA has not only promulgated regulations governing uniform calculation of fuel

economy estimates, but informs consumers that while these estimates “are a useful

tool for comparing the fuel economies of different vehicles,” they “may not


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accurately predict” a consumer’s actual mileage. EPA Your Mileage Will Vary,

available at https://www.fueleconomy.gov/feg/why_differ.shtml (last visited Feb. 2,

2021); see also 71 Fed. Reg. at 77874. The EPA has thus cultivated a “tradition of

having a statement on the label” of every vehicle informing the buyer that estimated

fuel economy values are not guaranteed. 76 Fed. Reg. 39478, 39505 (Jul. 6, 2011).

      Plaintiffs seek to disturb this tradition, obstruct the purpose of the federal

regulatory scheme, and demand that Ford do the “impossible”—create and market

an actual, real-world fuel economy value. See 71 Fed. Reg. at 77874. By doing so,

Plaintiffs ask this Court to corrupt the system, carefully created by the EPA and FTC,

to calculate and distribute fuel economy estimates in a way that will invite, not

minimize, consumer confusion. Cf. id. at 77914 (“[W[ithout a long-term,

comprehensive public awareness campaign, any changes to the [fuel economy]

metric could confuse the public.”). This should not be permitted. If Plaintiffs’ claims

are not expressly preempted, they are impliedly so.

          B. Plaintiffs lack a justiciable claim.
                 i. Plaintiffs lack standing to enforce the EPCA.
      Plaintiffs concede that they are using “state consumer protection or common

law claims” to prosecute claims premised on “inaccurate” fuel economy estimates.

ECF No. 85, PageID.3338. This end run around the EPCA fails as a matter of law.

      The EPCA does not contain a private right of action. See ECF No. 82,

PageID.3218. It instead contains a detailed federal compliance and enforcement
                                          9
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regime triggered by any potential violation of its terms by a vehicle manufacturer,

like Ford. ECF No. 82, PageID.3218 (citing 49 U.S.C. §§ 32911, 32912). This means

that consumers, like the Plaintiffs here, are barred from directly enforcing the Act’s

requirements, including its fuel economy and disclosure requirements. See

Alexander v. Sandoval, 532 U.S. 275, 286 (2001); see also ECF No. 82,

PageID.3218-3219. Thus, this private action, which seeks monetary and equitable

relief for alleged violations of the EPCA’s fuel economy testing and disclosure

requirements and related regulations, should be dismissed outright.5

      The Supreme Court’s decision in Buckman Co. v. Plaintiffs’ Legal Comm., 531

U.S. 341 (2001), also precludes any attempt by Plaintiffs to argue that they are not

prosecuting a claim under the EPCA because they simply challenge the accuracy of

data passed to the EPA used to calculate fuel economy estimates.6 There, the Court



5
  See, e.g., ECF No. 78, PageID.2056 at ¶ 9 (“Testing of the F-150 using the [EPCA]
mandated coastdown procedure reveals that Ford did not follow appropriate
coastdown testing procedures.”); ECF No. 78, PageID.2055 at ¶ 2 (“Ford [] cheated
on its fuel economy testing . . . then used inaccurate fuel economy ratings on the
window stickers to sell and lease these trucks to consumers.”); ECF No. 78,
PageID.2056 at ¶ 6 (“Ford fudged its coastdown testing and used inaccurate drag
and resistance figures to boost the vehicles’ ‘EPA’ [] mileage ratings.”).
6
  See, e.g., ECF No. 78, PageID.2152 at ¶¶ 404 (“[R]esults are sent by Ford to the
EPA to be used as the basis for mileage information.”); ECF No. 78, PageID.2201
at ¶¶ 488(d) (“Whether Ford provided false information to the EPA regarding the
fuel efficiency . . . of…Vehicles.”); ECF No. 85, PageID.3310 (“The Vehicles face
more resistance under real world driving conditions than what Ford reported to the
EPA.”); ECF No. 85, PageID.3360 (“[R]oad load forces are some 20-35% higher
than the false values reported to the EPA.”).
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unambiguously held that claims alleging fraud on an agency possessing independent

enforcement authority were not cognizable under state law. Buckman, 531 U.S. at

347-348. It reasoned that “[p]olicing fraud against federal agencies is hardly ‘a field

which the States have traditionally occupied,” and a decision to the contrary would

conflict with federal regulatory schemes “amply empower[ed] . . . to punish and

deter fraud.” Id. Thus, even if this fraud-on-the-EPA theory of liability is not

construed as prosecution of an EPCA violation, it is barred by controlling precedent.

      Plaintiffs’ current position, that they are not prosecuting a violation of the

EPCA, also places form over substance. ECF No. 85, PageID.3340. Courts have

explained in analogous contexts that permitting an end run around the limited

enforcement mechanisms of a federal statute through, for example, state consumer

protection laws, would be “inconsistent with the underlying purpose of the [statute’s]

legislative scheme and would interfere with the implementation of that scheme to

the same extent as would a cause of action directly under the statute.” See Davis v.

United Airlines, Inc., 575 F. Supp. 677, 680 (E.D.N.Y. 1983).7 This is because

plaintiffs cannot create a private right of action where no such right exists. See ECF



7
  Plaintiffs’ sole attack on Davis is that it concerns the Vocational Rehabilitation Act
and not the EPCA. Plaintiffs do not provide any cogent explanation for why this
distinction matters, as neither statute permits a private right of action and plaintiffs
there, like here, acknowledged their claims were predicated on a federal statute or
scheme. See Harris v. Adams, 873 F.2d 929, 932 (6th Cir. 1989) (acknowledging the
VRA does not contain a private right of action).
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No. 82, PageID.3218-3219. There is no reason to apply a different test to the EPCA,

and Plaintiffs cite no case suggesting otherwise. Cf. Metro. Taxicab Bd. of Trade v.

City of N.Y., No. 08-7837, 2008 WL 4866021, at *6 (S.D.N.Y. Oct. 31, 2008) (no

indication Congress intended EPCA to benefit the individual owner or user).

      There is also no question that this action would interfere with the

implementation of the administrative scheme developed by the EPCA. See infra

Section II(C). The EPA—not a federal court—was empowered by Congress to

administer, regulate, and enforce the development of fuel economy labels in the U.S.

Under this charge, EPA has prescribed exactly how fuel economy must be

calculated—from how to measure a vehicle’s road load, to how to drive the vehicle

over a standard test cycle, to how to group individual test results into a set of

overarching fuel economy labels. In fact, EPA is currently evaluating Ford’s process

for measuring road load. See ECF No. 78-3, PageID.3033-3035. Plaintiffs should

not be permitted to supplant the Agency’s experienced judgment, particularly in light

of its current evaluation, with implausible allegations, YouTube videos, and

unconfirmed calculations. Nor should they be permitted to create liability for alleged

non-compliance with the EPCA using their own methodology for assessing fuel

economy that differs from that used by the agency charged with administering this

statutory provision.

      Finally, Plaintiffs’ assertion that they are not prosecuting a violation of the

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EPCA is wholly inconsistent with their argument opposing dismissal for express

preemption. While Plaintiffs now claim that they do not seek to prosecute a violation

of the EPCA, ECF No. 85, PageID.3340, they oppose dismissal for express

preemption by arguing that they seek to “impose . . . requirements on Ford . . .

provided under the federal statute [(i.e., the ECPA)] and regulations,” ECF No. 85,

PageID.3324. Both cannot be true. Either Plaintiffs seek to prosecute claims for

violations of the EPCA and lack standing, or their claims are raised under state law

and are preempted. See supra Section II(A)(ii).

                ii. Plaintiffs lack a cognizable injury-in-fact.
      Plaintiffs claim they suffered a cognizable injury in fact, sufficient to support

Article III standing, because they alleged “out-of-pocket” losses. ECF No. 85,

PageID.3341. Yet the ACAC is devoid of any plausible allegation of such a loss. It

is instead littered with bare allegations suggesting Ford failed to deliver on its

promise to provide a specific fuel economy for each vehicle, which resulted in

increased fuel costs and a lower resale value. But Ford made no such promise.

Plaintiffs received exactly what they bargained for: a vehicle with estimated, not

guaranteed, fuel economy performance using mileage estimates prescribed by the

EPA. See, e.g., ECF No. 78-14, PageID.3072 (“EPA-estimated ratings . . . . Actual

mileage will vary.” (emphasis added)). Thus, Plaintiffs have not suffered an injury-

in-fact and their claims should be dismissed for lack of Article III standing. ECF No.


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82, PagID.3221 (collecting cases).8

      The same result should follow for Plaintiffs who leased their vehicles and

“may be underwater in their financing at the conclusion of the lease.” ECF No. 5,

PageID.3345; see also ECF No. 82, PageID.3221-3222 (identifying lessee

Plaintiffs). No such allegation exists in the ACAC, unsurprisingly, because the lessee

owes no money at the end of a lease and the lessor assumes all risk of loss.

Thiedemann v. Mercedes-Benz USA, LLC, 183 N.J. 234, 253 (2005) (“[T]he party

who receives back the leased vehicle [(i.e. the dealer)] is the one that [] receives a

vehicle having some diminution in future value.”). Courts routinely dismiss actions

by lessees seeking diminution of value damages. See ECF No. 82, PageID.3222.

               iii. Plaintiffs lack standing to assert claims arising under the
                    laws of states without a named plaintiff.
      Plaintiffs assert state law claims under the laws of each State, but do not name

a plaintiff from or injured in 22 of those States. Plaintiffs therefore lack standing to

pursue claims under the laws of those states. See ECF No. 82, PageID.3224-3225.

Plaintiffs acknowledge this deficiency but assert that dismissal would be

“premature.” ECF No. 85, PageID.3346. That is contrary to the weight of authority

and recent rulings by this Court.

      In a decision ignored by Plaintiffs, In re Refrigerant Compressors Antitrust


8
 The cases cited by Plaintiffs concerning emissions “cheating” do not provide the
appropriate analytical framework to assess this issue. See supra Section II(A)(i).
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Litigation, this Court evaluated whether it “should [] consider the Constitutional

standing issue” associated with plaintiffs’ failure to identify a named plaintiff in each

state before class certification. No. 09-2042, 2012 WL 2917365, at *4 (E.D. Mich.

Jul. 17, 2012) (Cox, J.). This Court concluded that it should and dismissed all claims

asserted under the laws of states without a named plaintiff. Id.; see also ECF No. 82,

PageID.3224-3225 (collecting cases). The same result should follow here.

          C. Plaintiffs’ claims should be stayed or dismissed pursuant to the
             doctrine of primary jurisdiction.
      The Court should also decline to exercise jurisdiction over this case based on

the doctrine of primary jurisdiction. Plaintiffs agree that primary jurisdiction bars an

action within the special competence of an agency having an interest in the

“uniformity and accuracy” of administrative policy. See ECF No. 82, PageID.3329-

3230; see also ECF No. 85, PageID.3348. They say it is not implicated here. They

are mistaken.

      First, Plaintiffs wrongly assert that their claims do not require the Court to

confront the complex and technical questions related to the proper calculation of fuel

economy estimates. ECF No. 85, PageID.3348-3349. Plaintiffs admit that they must

prove that Ford’s fuel economy estimates were “inaccurate.” See, e.g., ECF No. 85,

PageID.3279 (“[T]his Court has jurisdiction over cases challenging false and

misleading advertising related to inaccurate fuel economy ratings.” (emphasis

added)). Yet they fail to explain how this Court could assess the accuracy of the

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estimates without first assessing the underlying fuel economy calculations.

      Second, Plaintiffs suggest that the Court is capable of conducting the complex

calculations necessary to determine the accuracy of Ford’s fuel economy estimates.

ECF No. 85, PageID.3349. They posit that all issues related to the advertisement of

fuel economy estimates are “conventionally left to the courts to answer.” ECF No.

85, PageID.3349. Plaintiffs cite no law to support their belief that this Court (or a

jury) can substitute its judgment for the EPA’s special expertise—as its investigation

is not yet closed9—and can forsake the uniform administration of fuel-economy

policy in the process. It cannot. See, e.g., C-Max I, 2015 WL 7018369, at *30; Gilles

v. Ford Motor Co., 24 F. Supp. 3d 1039,1050 (D. Colo. 2014).

      C-Max is instructive. There, the court dismissed false advertising claims based

on the doctrine of primary jurisdiction. The court explained that any analysis

concerning the accuracy of fuel economy estimates—or the methods used to derive

those estimates—would “directly implicate[] the methods devised by the EPA.” C-

Max I, 2015 WL 7018369, at *30. Therefore, it could not “pass[] judgment on

whether there is a way to [accurately] calculate fuel economy for [a vehicle],” and

dismissal was warranted. Id. The Gilles court held the same, acknowledging that


9
  Plaintiffs acknowledge that the EPA’s review of Ford’s internal investigation into
issues related to road load estimations (and therefore fuel economy estimates)
remains open. Plaintiffs also concede that parallel investigations by the U.S.
Department of Justice and the California Air Resources Board have closed without
any finding of wrongdoing by Ford. See ECF No. 85, PageID.3311.
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claims attacking the “accuracy of EPA estimates,” even those within an

advertisement, fall within the EPA’s “special competence.” Gilles, 24 F. Supp. 3d at

1050. Plaintiffs’ false advertising claims, predicated on a finding that Ford’s EPA

estimates are “inaccurate,” should be barred. ECF No. 85, PageID.3279.

      It is true that the C-Max and Gilles courts refused to bar advertising claims

insofar as those claims were premised on false “guarantees of real-world fuel

economy” or contained representations about fuel economy untethered from EPA-

approved estimates. See, e.g., C-Max I, 2015 WL 7018369, at *30; Gilles, 24 F.

Supp. 3d at 1050. But Plaintiffs do not identify any such representations here.

Plaintiffs do not plausibly allege that Ford produced or distributed a single

advertisement guaranteeing real-world fuel economy. Compare C-Max I, 2015 WL

7018369, at *21 (detailing “marketing campaign [] designed to convey [a vehicle’s]

real world” fuel economy) with ECF No. 78, PageID.2060 at ¶ 19 (“The all-new

Ranger has earned EPA-estimated fuel economy ratings of 21 mpg city, 26 mpg

highway and 23 mpg combined for 4x2 trucks.”). Nor do they plausibly allege that

Ford produced or distributed any advertisements that represented fuel economy

figures as anything but estimates. See, e.g., ECF No. 78-14, PageID.3071-3094; ECF

No. 78-19, PageID.3113; ECF No. 78-21, PageID.3119-3153.10 This Court should


10
   Many exhibits cited by Plaintiffs were not produced by Ford. For example,
Plaintiffs cite to articles published by “The Newswheel” and “Car and Driver.” See

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follow C-Max and Gilles and find that claims predicated on the accuracy (or

inaccuracy) of Ford’s fuel economy estimates are barred by primary jurisdiction.

      Finally, Plaintiffs suggest that the application of primary jurisdiction is

inappropriate because the EPA cannot provide them with the monetary relief they

seek. ECF No. 85, PageID.3348. Some courts have refused to stay or dismiss an

action in deference to an agency’s primary jurisdiction when a plaintiff demands

monetary damages.11 But those cases involve statutes that afford a private right

action (unlike the EPCA) or plaintiffs who sought damages for injuries to persons

and property (unlike these Plaintiffs). Plaintiffs here allege only implausible “out-

of-pocket loss” related to the value of their vehicles and cost of fuel. See, e.g., ECF

No. 78 at ¶¶ 31, 32. Thus, Plaintiffs’ pursuit of economic damages does not save

their claims from the EPA’s primary jurisdiction.

          D. Plaintiffs’ claims do not satisfy Rules 8(a) or 9(b).
      Plaintiffs must not be permitted to escape from the false premise underlying

the ACAC, that there exists a single measure of “true fuel economy” and the figures

presented by Ford were “inaccurate.” See, e.g., ECF No. 78, PageID.2058 at ¶ 15


ECF No. 78-4, PageID.3037-3027, ECF No. 78-10, PageID.3055-3056. These
representations cannot be attributed to Ford.
11
   See, e.g., Stoll v. Kraft Foods Global, Inc., No. 09-364, 2010 WL 3702359, at *6
(S.D. Ind. Sept. 6, 2010) (noting private right of action in the Resource Conservation
and Recovery Act); Martin v. Behr Dayton Thermal Prods. LLC, No. 08-326, 2011
WL 4073703, at *1, 3 (S.D. Ohio Sept. 13,2011) (involving monetary damages
predicated on injuries to persons and properties caused by the unlawful dumping of
chemical waste).
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(“miscalculated” fuel economy); ¶ 31 (“true fuel economy”); ¶ 40 (“exaggerated fuel

economy”); ¶ 41 (“inaccurate fuel economy”); accord ECF No. 85, PageID.3304

(“Ford concealed the true [fuel economy] figures and advertised false ones”). As the

EPA has repeatedly explained to manufacturers and consumers alike, fuel economy

ratings derived by manufacturers using EPA-mandated testing procedures are “a

useful tool for comparing the fuel economies of different vehicles but may not

accurately predict the average MPG you will get.” See ECF No. 82, PageID.3226

(citing Fueleconomy.gov). It is for this exact reason that EPA-approved, FTC-

mandated window stickers affixed to the vehicles purchased and leased by Plaintiffs

stated that “[a]ctual [fuel economy] results will vary for many reasons . . . .” See,

e.g., ECF No. 78-19, PageID.3313 (emphasis added). It is also why the

advertisements of fuel economy by Ford are stated as estimates, and not guarantees

of real-world performance. ECF No. 78-14, PageID.3071-3094; ECF No. 78-19,

PageID.3113; ECF No. 78-21, PageID.3119-3153. Thus, any claim premised on the

real-world accuracy (or inaccuracy) of fuel economy estimates must fail as facially

implausible. See, e.g., ECF No. 78 at ¶¶ 15, 31, 40, 41.

      Plaintiffs disagree. They assert that their shotgun-style, 3,997 paragraph

ACAC plausibly alleges a claim because their unnamed “expert”—who may or may

not be the YouTube performer cited in the ACAC—performed the “identical EPA

and SAE-required” fuel economy test Ford conducted and obtained results that

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varied from those Ford provided to the EPA. See ECF No. 85, PageID.3360. But

Plaintiffs themselves admit that the tests performed by their unnamed expert were

not identical to those required by the EPA and performed by Ford. ECF No. 85,

PageID.3360. Ford tested its vehicles in a lab setting under controlled conditions to

adequately account for the variables necessary to calculate fuel economy. Id.; see

also ECF No. 78, PageID.2151 at ¶ 403 (alleging “Ford’s internal lab tests did not

account for [certain] forces, which lead to better—and entirely inaccurate—fuel

economy projections.”). As far as Ford can glean from the Plaintiffs’ filings, their

expert did not. ECF No. 85, PageID.3360. It is therefore no surprise that their

“expert’s” results varied. In fact, Ford and the EPA explained to consumers that lab-

constructed estimates “will vary” from performance achieved in other environments.

See ECF No. 82, PageID.3226. In Plaintiffs’ words, comparing the EPA-approved

lab testing performed by Ford to the testing performed by Plaintiffs’ unnamed

“expert” is an “apples and oranges” comparison that does not render Plaintiffs’

otherwise unsupported allegations plausible. ECF No. 85, PageID.3360-3361.12

      Further, Plaintiffs fail to allege a misrepresentation or omission with the



12
  It does not follow that Ford “cheated” simply because select employees “were
questioning [Ford’s] computer modeling and physical test practices.” ECF No. 78,
PageID.2157 at ¶ 410. This is particularly true here, where the Department of Justice
investigation spawned as a result of these employees’ questions has concluded
without any charge or claim of wrongdoing against Ford. Id. (citing ECF No. 78,
PageID.2149, 2157, 2166 at ¶¶ 397; 410-411, 430).
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particularity   required   by   Rule   9(b).   See   ECF   No.   82,   PageID.3228

(misrepresentations); ECF No. 82, PageID.3232 (omissions); see also Smith v. Gen.

Motors LLC, No. 19-1614, --- F.3d. ---, 2021 WL 631475, at *8-9 (6th Cir. Feb. 18,

2021). Given every Ford-produced advertisement cited represents estimated, not

actual, fuel economy performance, Plaintiffs appropriately abandon any claim of

misrepresentation-based fraud. Compare ECF No. 82, PageID.3228 with ECF No.

85, PageID.3361 (asserting only that “Ford ignores Plaintiffs’ omission-based

allegations.”). The omission theory they retreat to also fails. ECF No. 85,

PageID.3361. Plaintiffs have not identified “what” was allegedly omitted from

Monroney labels or Ford’s advertising. They allege only that mythical “true fuel

economy” was not presented to consumers.13 But what they are asking for is, as the

EPA says, impossible. Ford cannot be compelled to produce individualized estimates

for each buyer based on their driving conditions. This omission is not actionable.

          E. Plaintiffs’ Consumer Fraud and Protection Claims Fail.
                 i. Plaintiffs have not alleged facts to support the violation of
                    any state consumer fraud or consumer protection statute.
      Plaintiffs agree that under all but one relevant consumer protection statute,

they needed to plead reliance on an actionable misrepresentation or that an

actionable misrepresentation or omission caused their injuries. ECF No. 85,



13
  Any claim that Ford committed a fraud on the EPA is not cognizable, under any
pleading standard. See Section II(B)(i) (discussing Buckman).
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PageID.3368-3369. Plaintiffs thus concede that they must at least plausibly—and

in most cases particularly—identify an actionable misrepresentation or omission.

See ECF No. 82, PageID.3232; accord Fed. R. Civ. P. 8(a), 9(b). They have not. 14

      Plaintiffs assert that they have alleged an actionable misrepresentation or

omission by reference to Ford’s use and distribution of materials containing EPA-

mandated fuel-economy estimates, as opposed to “true fuel economy” figures. See

ECF No. 85, PageID.3304 (“Ford concealed the true [fuel economy] figures and

advertised false ones”), PageID.3371-3372; see also, e.g., ECF No. 78, PageID.2064

at ¶ 31 (similar). That argument is frivolous. Courts have repeatedly held, as

Plaintiffs admit, “the mere use of EPA estimates, as opposed to any other supposed

estimates of ‘actual’ [or, in this case ‘true’] fuel-economy, [is] not actionable.” C-

Max I, 2015 WL 7018369 at *32; see also ECF No. 85, PageID.3371.15 This means

that use of an EPA-estimate in a vehicle booklet, television commercial, or print


14
   Plaintiffs claim Ford has ignored the possibility that an omission could constitute
a deceptive practice. ECF No. 85, PageID.3369. That is false. Ford gave Plaintiffs’
omission theory the space it deserved, relegating its discussion to a footnote. ECF
No. 82, PageID.3232.
15
   See also, e.g., Gray v. Toyota Motor Sales, USA, No. 08-cv-1690, 2012 WL
313703, at *6 (C.D. Cal. Jan. 23, 2012), aff’d, 554 F. App’x 608, 609 (9th Cir. 2014)
(“[N]o misrepresentation occurs when a manufacturer merely advertises EPA
estimates.”); id. (explaining consumer protection claims “must fail [when] they rely
solely on advertisements that merely repeat the approved EPA mileage estimates,
without any additional representations as to, for example, a consumer’s ability to
achieve those figures under normal driving conditions.”); Paduano, 169 Cal. App.
4th at 1470 (“[T]here is nothing false or misleading about . . . advertising with regard
to its statements that identify the EPA fuel economy estimates[.]”).
                                          22
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advertisement is not actionable unless the use mischaracterizes the estimate as a

“guarantee of specific real-world performance.” C-Max II, 2017 WL 3142078 at

*9.16 And here, as explained, none do. See, e.g., ECF No. 78-14, PageID.3072. This

is dispositive. C-Max II, 2017 WL 3142078 at *11 (“[Ford’s] representations are

based entirely on [] EPA-estimated MPG, as is evident from the inclusion of the

footnote,” containing the FTC disclaimer).

      Plaintiffs also do not allege that they saw, much less relied on, the cited

advertisements. This too is dispositive. C-Max I, 2015 WL 7018369 at *21

(dismissing consumer protection claims because plaintiffs must but did not “identify

each and every advertisement [p]laintiffs relied upon in order to establish the ‘who .

. . where, when[,] and why’ of the fraud.” (emphasis added)).

      Plaintiffs also assert that their consumer protection claims can survive by

reference to puffery. See ECF No. 85, PageID.3372 (asserting Ford’s use of EPA

estimates to market its vehicles as “most fuel efficient” and “best in class” is

actionable). That is wrong. These statements are puffery, and puffery cannot serve

as an actionable misrepresentation. See, e.g., Raymo v. FCA US LLC, 475 F. Supp.

3d 680, 706 (E.D. Mich. 2020) (finding statements “leading fuel economy” and

“unprecedented performance and fuel economy” nonactionable puffery). Nor can


16
  See also Yung Kim, 99 F. Supp. 3d at 1099 (permitting consumer protection claim
based on “beyond the label” representation of the distance a vehicle could travel on
one tank of gas on a map outlining a route from Chicago to Rochester, New York).
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generalized statements comparing the EPA-estimated fuel-economy figures among

vehicles. C-Max II, 2017 WL 3142078 at *10 (statements that “C-Max [] bests in

MPG” and “most fuel-efficient midsize hybrid in America” not actionable).

Comparisons are, after all, the purpose of the EPA estimates. EPA Your Mileage Will

Vary, available at https://www.fueleconomy.gov/feg/why_differ.shtml (last visited

Feb. 2, 2021) (estimates “are a useful tool for comparing the fuel economies of

different vehicles”). Yet that is all Plaintiffs allege. ECF No. 85, PageID.3372.

      Because Plaintiffs have not cited a single representation made by Ford

constituting a guarantee of real-world performance (much less one they saw, heard,

or relied upon) or explained how Ford omitting non-existent “true” fuel economy

figures amounts to a deceptive act, each consumer protection claim fails.

                ii. Plaintiffs cannot raise class-wide claims in states where
                    consumer protection statutes bar class actions.
      The consumer protection statutes of ten states preclude class actions or

otherwise provide a private right of action exclusively for individuals acting in their

own capacities. See ECF No. 82, PageID.3234 (collecting statutes). Federal courts

in this District routinely enforce these, or similar, substantive state statutory class

action prohibitions. See, e.g., Matanky v. Gen. Motors LLC, 370 F. Supp. 3d 772,

798-99 (E.D. Mich. 2019); ECF No. 82, PageID.3235 (collecting cases); cf. Whitlock

v. FSL Mgmt., LLC, 843 F.3d 1084, 1092 (6th Cir. 2016) (acknowledging that Rule

23 does not displace class action bars where the prohibition is part of the state
                                          24
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substantive right, or “appears within the same statutory provision that creates the

private cause of action.”).17 This Court should do the same.

               iii. Ford’s compliance with FTC regulations and pre-suit
                    approval requirements bars many of Plaintiffs’ claims.
      Plaintiffs do not dispute, and therefore concede, that their consumer protection

claims under the laws of 26 states should be dismissed because the law of those

states precludes suits premised on advertisements compliant with or expressly

authorized by federal law. See ECF No. 82, PageID.3235-3237; see also Thorn v.

Medtronic Sofamor Danek, USA, Inc., 81 F. Supp. 3d 619, 631 (W.D. Mich. 2015)

(collecting controlling cases recognizing that a plaintiff waives a claim “by failing

to respond to or to refute arguments made by the defendants” to support dismissal).18

That is precisely the case here, and these claims should be dismissed.

      Further, Plaintiffs do not substantively dispute that the consumer protection

statutes in Mississippi and Iowa require pre-suit approval from each state’s Attorney



17
   Plaintiffs cite several decisions holding that Rule 23 displaces state class action
bars. ECCF No. 85, PageID.3373. Rule 23, spawned from the Supreme Court’s
authority to promulgate procedural rules under the Rules Enabling Act, does not
displace state substantive law. See 28 U.S.C. § 2072(b) (federal procedural rules
“shall not abridge, enlarge, or modify any substantive right.”). Or, in this case, the
substantive requirements to recover for an alleged consumer protection violation.
See Whitlock, 843 F.3d at 1092. The cases Plaintiffs cite are therefore not instructive.
18
   This Court recently rejected the exact argument Plaintiffs now raise in response to
Ford’s motion to dismiss Plaintiffs’ MCPA claim. See Gant v. Ford Motor Co., No.
19-12553, 2021 WL 364250, at *7-8 (E.D. Mich. Feb. 3, 2021) (Cox, J.); see also
ECF No. 82, PageID.3255-3256.
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General. They instead argue that: (1) dismissal is premature under Mississippi law;

and (2) there is insufficient authority interpreting Iowa’s law to permit dismissal.

ECF No. 85, PageID.3373-3374. Neither argument is persuasive. Courts have

dismissed Mississippi and Iowa-based consumer protection claims for failing to

obtain adequate pre-suit approval from the States’ Attorney General. See In re

Chrysler-Dodge-Jeep EcoDiesel Mktg. Sales Prac. Litig., 295 F. Supp. 3d 927, 1017

n.22 (N.D. Cal. 2018) (Iowa); id at 1023 (Mississippi).19 And limited precedent is no

reason to discount the clear text of Iowa’s consumer protection statute. See Iowa

Code § 714H.7 (“A class action lawsuit alleging a violation of [the state’s consumer

protection law] shall not be filed with a court unless it has been approved by the

attorney general.” (emphasis added)). Dismissal of these claims is warranted.

         F. Plaintiffs Cannot Sustain a Breach of Contract Claim
      Plaintiffs concede that they have not identified a single written or oral

contract, much less contractual term, Ford has allegedly violated. ECF No. 85,

PageID.3375-3376. Yet they push on with their baseless claim for breach of contract.

      Plaintiffs assert their breach of contract claims are proper because they

“bought or leased a Ford vehicle from an authorized Ford dealership.” ECF No. 85,

PageID.3375. But they do not plead that they purchased or leased a vehicle from the

19
   Plaintiffs in In re Chrysler-Dodge-Jeep EcoDiesel, were granted leave to amend.
That would be inappropriate here given the fact that Plaintiffs have not even
attempted to remedy this issue following the filing of their individual complaints, a
master consolidated complaint, and an amended master consolidated complaint.
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defendant in this case, Ford Motor Company. Nor do they allege that they

communicated with Ford at the time of sale. Indeed, it is Plaintiffs’ position,

breathtaking in its distance from controlling precedent, that a third-party product

manufacturer unaffiliated with a consumer transaction forms a contract, with

unknown terms, with every consumer of its products.20 Such a conclusion is

untenable under Sixth Circuit precedent. See, e.g., Northampton Restaurant Grp.,

Inc. v. FirstMerit Bank, N.A., 492 Fed. App’x 518, 522 (6th Cir. 2012) (“It is a basic

tenet of contract law that a party can only advance a claim . . . by identifying and

presenting the actual terms of the contract allegedly breached.”); Santilli v.

JPMorgan Chase Bank, N.A., No. 14-12359, 2014 WL 6675327, at *5 (E.D. Mich.

Nov. 25, 2014) (Cox, J.) (dismissing action where “the contract at issue was not

identified [and] there was no indication of the terms that were breached.”).21

      Because Plaintiffs do not allege facts showing that Ford made them an offer,

that they accepted that offer, that they paid consideration to Ford, or that Ford failed



20
   Plaintiffs do not even attempt to confront the fact that Ford is barred from selling
vehicles directly to consumers in some states. See, e.g., Mich. Comp. Laws §
445.1574(h); Ala. Code § 8-20-4; Fla Stat. § 320.61.
21
   Plaintiffs cite a single case, Bledsoe v. FCA US LLC, 378 F. Supp. 3d 626, 645
(E.D. Mich. 2019), to support its gross expansion of contract liability. This case was
wrongly decided. Although it correctly explains that a contract can be formed
through the “sale of [a] vehicle” between a buyer and seller, where “the buyer pays
or promises to pay the seller for the thing bought or sold[,]” Bledsoe, 378 F. Supp.
3d at 645, the court incorrectly leaps to the conclusion that a vehicle manufacturer,
is a “seller.” Not so. Dealerships, not manufacturers, sell vehicles to consumers.
                                           27
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to honor a binding promise made to them, they do not state a viable contract claim.

          G. Plaintiffs Fail to Allege Fraudulent Concealment
      Plaintiffs do not dispute that to state a claim for fraudulent concealment they

must allege with the specificity required by Rule 9(b) the common law elements of

fraud and that Ford concealed a material fact it had a duty to disclose. See ECF No.

82, PageID.3239-3240 (collecting cases). Yet they do neither. As detailed below in

Section II(J), Plaintiffs have not adequately alleged a misrepresentation or omission

and therefore have not alleged the common law elements of fraud with specificity.

A threadbare allegation that Ford “cheated” or provided “inaccurate” EPA-approved

fuel economy estimates is not enough. C-Max I, 2015 WL 7018369 at *32

(explaining that “the mere use of EPA estimates, as opposed to any other supposed

estimates of ‘actual’ fuel-economy, are not actionable” misrepresentations). Ford

disclosed that actual mileage varies, using the language and format that the EPA and

the FTC dictate, and Plaintiffs fail to allege a plausible basis for any further duty to

explain the details of such variations (which the EPA has previously published in the

Federal Register in any event).22 These pleading failures warrant dismissal.

      Plaintiffs cannot salvage their claim by reference to the four cases cited in

22
   Nor have Plaintiffs plausibly, much less specifically, alleged that: (1) they
maintained a special relationship with Ford; (2) Ford partially disclosed material
information, which created the impression of full disclosure; or (3) Ford was a party
to their purchase transaction and possessed superior knowledge not available to
Plaintiffs. ECF No. 82, PageID.3240-3241. Thus, they have not alleged Ford owed
them a duty to disclose facts concerning the calculation of fuel economy estimates.
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their opposition. See ECF No. 85, PageID.3364-3365.23 In each, courts sustaining

fraudulent concealment claims not only concluded that plaintiffs had plausibly

alleged a defect, but also that the defect was known to the defendant at the time of

sale and either could not be discovered by the plaintiffs with reasonable diligence or

existed for the sole purpose of concealing information. That is not the case here.

      Plaintiffs do not plausibly allege a defect. Plaintiffs instead complain that their

vehicles’ real-world fuel economy diverged from the fuel economy estimates

provided by Ford and the EPA. This is not a plausible defect. It is a reality caused by

the widely disclosed fact that “fuel economy varies for a wide variety of reasons,

such as different driving styles, climates, traffic patterns, use of accessories, loads,

weather, and vehicle maintenance.” 71 Fed. Reg. at 77874; see also 76 Fed. Reg. at

39505 (emphasizing the “tradition” of ensuring consumers know estimates do not

reflect real world estimates). If fuel economy variance is an actionable “defect,” then

every car on the road today suffers from such a defect. Further, even had Ford

inflated its fuel economy estimates, Plaintiffs own allegations suggest that the

“defect” was subject to consumer discovery. See ECF No. 78, PageID.2158-2159 at

413-14. The cases cited by Plaintiffs are therefore inapposite.


23
  Plaintiffs’ cite: In re GM Air Conditioning Litig., 406 F. Supp. 3d 618, 638-39
(E.D. Mich. 2019) (Air conditioning defect); Bledsoe, 378 F. Supp. 3d at 643
(“defeat device”); Persad v. Ford Motor Co., No. 17-12599, 2018 WL 3428690, at
*6 (E.D. Mich. Jul. 16, 2018) (Exhaust fume defect); Counts v. Gen. Motors, LLC,
237 F. Supp. 3d 572, 600 (E.D. Mich. 2017) (“defeat device”).
                                        29
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          H. Plaintiffs’ Express Warranty Claims Fail
      Plaintiffs’ express warranty claim is everchanging. In their ACAC, Plaintiffs

allege that Ford made two express warranties related to fuel economy: (1) the EPA

fuel economy estimates on the Monroney label; and (2) the New Vehicle Limited

Warranty (“NVLW”). Plaintiffs now disclaim reliance on the Monroney label,

abandon their NVLW allegations, and lean on Ford’s general advertising of fuel

economy estimates. ECF No. 85, PageID.3350-3351. But the advertisements they

identify do not support a warranty claim.

      Plaintiffs assert that Ford created and breached a warranty by including fuel

economy representations in advertising that go beyond “mere disclosure” of EPA

estimates. ECF No. 85, PageID.3351 (“[G]uarantees beyond a mere disclosure . . .

may still create a warranty.”). While Ford agrees that an advertisement promoting

real-world fuel economy or promising actual performance may create an express

warranty, Plaintiffs identify no such advertisement here, much less one that all of the

named Plaintiffs and all of the absent class members saw before purchasing or

leasing their vehicles. Compare In re Ford Fusion & C-Max Fuel Econ. Litig., 2015

WL 7018369, at **3, 35-36 (sustaining express warranty claims premised on

allegations that Ford advertised its vehicles would achieve a “total range of . . . 571

miles” and that the vehicle could “go further on a [single] tank of fuel” than its

competitors) and Sanchez, 2014 WL 2218278, at *5 (suggesting a representation that


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a vehicle could “travel 717 miles on one tank” of gas went “beyond mere disclosure”

of an EPA estimate) with Paduano, 169 Cal. App. 4th at 1467 (“[T]o the extent that

Honda identified the EPA fuel economy estimates in the Monroney sticker and

reiterated those EPA mileage estimates in its own advertising, Honda’s provision of

those estimates does not constitute an independent warranty that [plaintiff’s] vehicle

would achieve the EPA fuel economy estimates or a similar level of fuel economy.”).

Each Ford-produced advertisement cited contains a disclaimer noting that the fuel

economy figures are estimates, not real-world guarantees of fuel economy

performance. See, e.g., ECF No. 78-14, PageID.3072, ECF No. 78-19, PageID.3113,

ECF No. 78-21, PageID.3121. Thus, by Plaintiffs’ own standard, the cited

advertisements cannot support their express warranty claims.

      To the extent that Plaintiffs still intend to rely on the Monroney label or the

NVLW, their claims fail. Plaintiffs accept that mere recitations of an EPA estimate

on a Monroney label do not create an actionable express warranty related to fuel

economy. ECF No. 85, PageID.3350-3351. Federal law compels that conclusion. See

ECF No. 82, PageID.3342-3341 (citing 49 U.S.C. § 32908(d)). With respect to the

NVLW, Plaintiffs have not plausibly alleged it covers fuel economy. Plaintiffs

instead assert that the NVLW covers defects “in factory supplied material or

workmanship.” It is unclear how Plaintiffs believe Ford’s calculation of a fuel

economy estimate amounts to a “defect,” much less a defect impacting “material or

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workmanship.” See ECF No. 78, PageID.2587, 2604 (“…Ford failed to inform

[Plaintiffs] that the [subject vehicles] were defectively designed.” (emphasis added));

see also ECF No. 82, PageID.3243-3244. Put simply, a vehicle’s fuel economy is

not subject to repair or, in turn, warranty coverage. In any event, Plaintiffs concede

that they have failed to invoke the warranty or satisfy the prerequisites for making a

claim under the warranty (e.g., that they presented their vehicle to an authorized Ford

dealer for a repair). ECF No. 85, PageID.3352. Warranty coverage is not available.

      Plaintiffs have further failed to plausibly allege they provided Ford pre-suit

notice of this claim. See ECF No. 82, PageID.3244-3245; see also ECF No. 85,

PageID.3353 (acknowledging pre-suit notice requirements). Plaintiffs do allege that

they “provided notice of Ford’s breach [of warranty] via certified mail as early as

May 6, 2019” for plaintiffs in each state but California. See, e.g., ECF No. 78,

PageID.2227 at ¶ 602. However, this allegation is facially implausible given the fact

that several of the states’ classes do not even have representative plaintiffs who could

have accomplished notice. See supra Section II(B)(iii). Stated differently, phantom

plaintiffs cannot provide adequate pre-suit notice. The lack of pre-suit notice

warrants dismissal in several states. See ECF No. 82, PageID.3245.

          I. Plaintiff Cannot Sustain an MMWA Claim
      Plaintiffs’ MMWA claim fails for three reasons. First, Plaintiffs concede that

absent an actionable violation of a state warranty law, their MMWA claim fails. ECF


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No. 85, PageID.3358; see also Temple v. Fleetwood Enters., Inc., 133 F. App’x 254,

268 (6th Cir. 2005). Plaintiffs have failed to state an express warranty claim. See

supra Section II(H). Dismissal is appropriate. See ECF No. 82, PageID.3246.

      Second, even assuming Plaintiffs have adequately alleged a state warranty

claim, they have not identified a specific “written warranty,” as defined by the

MMWA, related to fuel economy. “[A] written affirmation of fact or a written

promise of a specified level of performance must relate to a specified time period in

order to be considered a ‘written warranty.’” See 16 C.F.R. §700.3. Plaintiffs assert

that their claim is “partially based on what Ford warranted in its advertisements and

communications.” ECF No. 85, PageID.3358.24 But the cited advertisements

promise neither a specific level of performance nor a specific fuel economy over a

specific period of time. See ECF No. 82, PageID.3246-3247 (collecting cases); see

also ECF No. 78-14, PageID.3071-3094; ECF No. 78-19, PageID.3113; ECF No.

78-21, PageID.3119-3153. Rather, they present consumers with an estimated fuel

economy and provide that “actual mileage will vary.” Id.; see also In re Scotts EZ

Seed Litig., No. 12-4727, 2013 WL 2303727, at **4-5 (S.D.N.Y. May 22, 2013)

(advertisement stating “[r]esults may vary” precludes creation of written warranty


24
   Plaintiffs never say what else their claim could be based upon. Plaintiffs do not
attempt to dispute Ford’s claim that Plaintiffs “do not allege that [the NVLW] serves
as the basis for their MMWA claim.” ECF No. 82, PageID.3246. Nor do they dispute
that “federal law bars any claim that advertising EPA-estimated fuel-economy
figures constitutes an actionable warranty.” Id. at 52.
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under the MMWA). Accordingly, they are not actionable under the MMWA.

      Third, Plaintiffs failed to satisfy the MMWA’s pre-suit notice requirements.

To proceed with class-wide claims under the MMWA, a plaintiff must give the

warrantor a reasonable opportunity to cure and, after that opportunity is provided,

notify the warrantor of a plaintiff’s intention to bring class claims. See 15 U.S.C. §

2310(e); Bhatt v. Mercedes-Benz USA, LLC, No. 16-3171, 2018 WL 5094932, at

**4-5 (C.D. Cal. Apr. 16, 2018). Plaintiffs offer no such allegations, but again

attempt to argue around their pleading failure.

      Plaintiffs claim that dismissal is unwarranted because either Ford waived pre-

suit notice as it “knew of the defect at the time of sale,” or because notice was

“futile.” ECF No. 85, PageID.3359. Plaintiffs identify no facts or law to support

waiver; none exist. See Tietsworth v. Sears, Roebuck & Co., 720 F. Supp. 2d 1123,

1144 (N.D. Cal. 2010). And the Sixth Circuit has rejected Plaintiffs’ suggestion that

the MMWA’s pre-suit notice requirements can be cast aside as “futile.” Kuns v. Ford

Motor Co., 543 Fed. App’x 572, 576 (6th Cir. 2013).25 This provides yet another

basis for dismissal. See Moving Br. at 53 (collecting cases).26


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   Plaintiffs do not provide a cogent reason why Kuns should not control. ECF No.
85, PageID.3359. That court remarked that it could not locate “any case law
indicating that th[e] statutory requirement can be waived if a plaintiff [believes] that
demand [is] futile.” Kuns, 543 Fed. App’x at 576.
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   Plaintiffs cite one case to suggest they have adequately alleged an MMWA claim:
Persad, 2018 WL 3428690, at *6. This case addressed the MMWA’s “informal

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         J. Plaintiffs Fail to State Claims for Fraud or Negligent
            Misrepresentation
      Plaintiffs do not confront that there is no federal common law cause of action

for fraud or negligent misrepresentation. ECF No. 82, PageID.3249-3250. Nor do

they cite the ACAC to suggest their fraud claims are raised under the laws of any

state. This alone warrants dismissal of Plaintiffs’ claims. See, e.g., Greer v. Fed.

Express Corp., 66 F. Supp. 2d 870, 873 (W.D. Ky. 1999) (“[T]he Sixth Circuit held

that claims for common law fraud and negligent misrepresentation did not exist

under federal common law.”); cf. Smith, 2021 WL 631475, at *4 (general rule that

“in diversity cases we apply the . . . substantive law of the forum state.”). Further,

Plaintiffs concede that Arkansas, Idaho, and Indiana do not even recognize a cause

of action for negligent misrepresentation. Compare ECF No. 82, PageID.3251-3252

with ECF No. 85, PageID.3368.

      Even if this Court construes Plaintiffs’ claims as arising under the laws of each

state, those claims still fail because, as already explained, Ford made no actionable

misrepresentation. See supra Section II(E)(i) (discussing that puffery is non-

actionable.) And, in any event, Plaintiffs appear to concede that they failed to

plausibly allege reasonable reliance on any advertisement’s fuel economy

representations. Compare ECF No. 82, PageID.3251 with ECF No. 85,



dispute settlement” procedures codified at 15 U.S.C. § 2310(a)(3). This is not the
same as the pre-suit notice requirements codified at 15 U.S.C. § 2310(e).
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PageID.3365-3368 (omitting any opposition to Ford’s reliance-based argument).

      Plaintiffs cannot resurrect their failed fraud and negligent misrepresentation

claims by now arguing that Ford failed to “disclose[] the true fuel economy of [its]

vehicles.” ECF No. 85, PageID.3366. As noted, no such value exists. For this reason,

Ford, at the EPA and FTC’s command, only provides consumers with fuel economy

estimates. Ford cannot be held liable for omitting information it does not possess.

      Plaintiffs also assert that an omission claim is cognizable because “Ford

admitted improper coastdown testing on the 2019 Ranger but took no action to

correct ongoing misrepresentations to consumers.” ECF No. 85, PageID.3366-3367.

This is false, Ford made no such admission. In support, Plaintiffs rely solely on the

fact that select Ford employees “were questioning [Ford’s] computer modeling and

physical test practices,” and the existence of a DOJ investigation, which—along with

a parallel investigation by CARB—was closed without a charge of wrongdoing

against Ford. Id. (citing ECF No. 78, PageID.2149, 2157, 2166 at ¶¶ 397; 410-411,

430). That is, Plaintiffs do not allege that Ford “admitted” anything. Plaintiffs’

attempt to invent an admission to support their fraud claim speaks volumes.

         K. Plaintiffs’ Unjust Enrichment Claims Fail.
      Plaintiffs concede that to state an unjust enrichment claim they were required

to “allege sufficient facts to show that [Ford] received a benefit” from them and that

Ford’s “retention of the benefit would be unjust.” ECF No. 85, PageID.3376. They


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do not allege either. Nor could they. Ford did not sell or lease Plaintiffs their vehicles.

So Plaintiffs provided no financial benefit to Ford based on the sale or lease of their

vehicles. Additionally, Plaintiffs fail to allege that any action undertaken by Ford to

comply with EPA and FTC regulations was somehow unjust. Plaintiffs’ unjust

enrichment claim should be dismissed with prejudice.27

     III.   CONCLUSION
        For the reasons stated above, and those contained in Ford’s moving brief,

Plaintiffs’ ACAC should be dismissed in its entirety with prejudice.

                                Respectfully submitted,

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Dated: February 22, 2021




27
  The claims also fail because they are not cognizable under the laws of a variety of
states or require direct privity with Ford. See ECF No. 82, PageID.3253-3255.
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